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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION


ALEXANDER DIAZ,

                      Petitioner,

vs.                                    Case No.    2:09-cv-244-FtM-29DNF
                                       Case No.     2:01-cr-49-FtM-29DNF

UNITED STATES OF AMERICA,

                    Respondent.
___________________________________


                           OPINION AND ORDER

      This matter comes before the Court on Alexander Diaz’s Motion

to Vacate Conviction and Sentence Pursuant to Title 28 U.S.C. §

2255 and Request for Evidentiary Hearing (Cv. Doc. #1; Cr. Doc.

#153)1 filed on April 20, 2009.            The United States filed its

Response in Opposition to [Petitioner]’s Motion to Vacate, Set

Aside, or Correct Sentence, Pursuant to 28 U.S.C. § 2255 (Cv. Doc.

#7) on June 29, 2009.

      On September 5, 2001, Alexander Diaz (petitioner or Diaz) was

charged in a five-count First Superceding Indictment with various

drug and firearms charges. (Cr. Doc. #44.)             On October 9, 2001,

petitioner   plead   guilty   to   three    of   the   counts   before   the

undersigned pursuant to a Plea Agreement.          (Cr. Docs. ##62, 68.)



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      The Court will make references to the dockets in the instant
action and in the related criminal case throughout this opinion.
The Court will refer to the docket of the civil habeas case as “Cv.
Doc.”, and will refer to the underlying criminal case as “Cr. Doc.”
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On   January    22,    2002,    petitioner     was    sentenced    to    210    months

concurrent      imprisonment      on    Counts    1   and   5,    and     60    months

consecutive     imprisonment       on    Count   3,    followed     by    60    months

supervised release. (Cr. Docs. ##88, 90.)               Petitioner did not file

a direct appeal.

      On September 29, 2003 petitioner filed his first § 2255

motion, in which he asserted that his attorney was ineffective for

failing    to   file    a   direct      appeal   despite    being       specifically

requested to do so, failing to adequately explain the significance

of   the   appeal      waiver    provision,      failing    to    object       to   the

calculation of his base offense level as a career offender, failing

to object to the failure to receive an adjustment for acceptance of

responsibility on the consecutive firearms count or to move for

downward departure as to the firearms count, and giving misleading

advise concerning the consequences of a guilty plea.                     On November

18, 2004, the Court entered an Opinion and Order (Cr. Doc. #129)

dismissing the first § 2255 motion as untimely.                  On March 8, 2005,

petitioner’s appeal was dismissed by the Eleventh Circuit Court of

Appeals for want of prosecution.           (Case No. 2:03-cv-568-FTM-29SPC,

Doc. #24.)

      Petitioner filed this second § 2255 motion on April 20, 2009.

Petitioner asserts that he was not properly sentenced as a career

offender because, in light of the intervening decision in Begay v.

United States, 128 S. Ct. 1581 (2008), he did not have a sufficient

number of qualifying predicate offenses.

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     The   current   §2255   motion    must   be   dismissed   for    lack   of

jurisdiction.    Before a district court may entertain a second or

successive § 2255 motion, it must be certified by a panel of the

Eleventh Circuit pursuant to 28 U.S.C. § 2244.            See 28 U.S.C. §

2255(h).    Since there is no certification reflected in the record,

the district court lacks jurisdiction.

     Accordingly, it is now

     ORDERED:

     1.    Alexander Diaz’s Motion to Vacate Conviction and Sentence

Pursuant to Title 28 U.S.C. § 2255 and Request for Evidentiary

Hearing (Cv. Doc. #1) is DISMISSED for lack of jurisdiction.

     2.    The Clerk of the Court shall enter judgment accordingly

and close the civil file.     The Clerk is further directed to place

a copy of the civil Judgment in the criminal file.

     DONE AND ORDERED at Fort Myers, Florida, this             29th    day of

July, 2009.




Copies:
Counsel of record
Alexander Diaz




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